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                                 MINUTE ORDER



  CASE NUMBER:            CIVIL NO. 19-00332 LEK-RT
  CASE NAME:              Joseph H. Campos, II vs. Andrew W. Nichols. M.D. et al.,




        JUDGE:      Leslie E. Kobayashi           DATE:             11/02/2020


 COURT ACTION: EO: COURT ORDER GRANTING DEFENDANTS’ MOTION TO
 DISMISS, OR IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

         On October 7, 2020, Defendants University of Hawai`i (“UH”) and Andrew W.
 Nichols, M.D. (“Dr. Nichols” and collectively “Defendants”), filed their Motion to Dismiss,
 or in the Alternative, for Summary Judgment (“Motion”). [Dkt. no. 37.] On October 23,
 2020, Plaintiff Joseph H. Campos, II (“Plaintiff”) filed a statement of no opposition to the
 Motion. [Dkt. no. 42.] Because the Motion is unopposed, the Court finds the Motion
 suitable for disposition without a hearing, pursuant to Local Rule 7.1(c). The hearing on
 the Motion, currently scheduled for November 13, 2020, at 11:15 a.m., is therefore
 VACATED.

        The Motion is GRANTED for the reasons stated therein. All of Plaintiff’s claims
 against Dr. Nichols, and all of Plaintiff’s state law claims against UH are DISMISSED
 WITH PREJUDICE. The only remaining claims in this case are Plaintiff’s claims against
 UH alleging violations of Title VII of the Civil Rights Act of 1964. There being no claims
 remaining against Dr. Nichols, the Clerk’s Office is DIRECTED to terminate him as a
 party.

        IT IS SO ORDERED.

 Submitted by: Agalelei Elkington, Courtroom Manager
